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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA Case Number: 3:19-cr-00166-TJC-LLL
V. USM Number: 72890-018
DAVID LANE BYRNS Jesse Nolan Dreicer, Esq.

1833 Atlantic Blvd,
Jacksonville, FL 32207

John Justin Johnston, Esq.
811 Grand Blivd.,

Suite 101,

Kansas City, MO 64106

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Count One of the Information. The defendant is adjudicated guilty of this offense:

t
Title & Section Nature of Offense Rate-Oirense caun
OO Concluded Number
18 U.S.C. §§ 1349 and 1347 Conspiracy to Commit Health Care Fraud February 2018 One

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the

Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes

in economic circumstances.

Date of Imposition of Sentence:

December 15, 2023

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TIM@THY J. CORRIGAN
UNITED STATES DISTRICT JUDGE

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IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of TWELVE (12) MONTHS AND A DAY.

The Court makes the following recommendations to the Bureau of Prisons:
e Incarceration at FCI Miami
e Anincarceration facility with the Lowest Security designation available.
e Defendant shall participate in the Residential Drug Abuse Program (RDAP).

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons before
2:00 P.M. no earlier than January 15, 2024, as notified by the United States Marshal.

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at _with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

Deputy United States Marshal

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SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of THREE (3) YEARS.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
e The above drug testing condition is suspended, based on the court's determination that you pose a low
risk of future substance abuse.
You must cooperate in the collection of DNA as directed by the probation officer.
You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
sentence of restitution. Restitution is deferred until further order of The Court.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on
the attached page.

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STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.

1.

12.

13.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72
hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
office or within a different time frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the probation officer.

You must answer truthfully the questions asked by your probation officer

You must live at a place approved by the probation officer. If you plan to change where you live or anything about
your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
(i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchucks or tasers).

You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation
officer may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AU.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature: Date:

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ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. You shall participate in a substance abuse program (outpatient and/or inpatient) and follow the probation officer's
instructions regarding the implementation of this court directive. Further, you shall contribute to the costs of these
services not to exceed an amount determined reasonable by the Probation Office’s Sliding Scale for Substance
Abuse Treatment Services. During and upon the completion of this program, you are directed to submit to random

drug testing.
2. You shall provide the probation officer access to any requested financial information.
3. You shall be prohibited from incurring new credit charges, opening additional lines of credit, or obligating yourself

for any major purchases without approval of the probation officer.

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CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

AVAA JVTA oa
Assessment 1 2 Fine Restitution
Assessment Assessment
TOTALS $100.00 $0.00 $0.00 $0.00 Deferred

The determination of restitution is deferred until further order of The Court.

SCHEDULE OF PAYMENTS
The Special Assessment in the amount of $100.00 is due in full and immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment of criminal
monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court, unless
otherwise directed by the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

FORFEITURE
The defendant shall forfeit the defendant's interest in the following property to the United States.

e Order of Forfeiture and Preliminary Order of Forfeiture for Specific Assets (Doc. 50) entered on
03/08/2022 and Final Order of Forfeiture for Specific Assets (Doc. 55) entered on 01/17/2023.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.

1 Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
2 Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
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